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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    COLIN MCELWEE
7
8
                        IN THE UNITED STATES DISTRICT COURT
9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     NO. CR-S-12-0114 LKK
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND [PROPOSED] ORDER
13        v.                         )     MODIFYING CONDITIONS OF RELEASE
                                     )
14   COLIN MCELWEE,                  )     Date: NONE
                                     )     Time: NONE
15                  Defendants.      )     Judge: Hon. Gregory G. Hollows
                                     )
16   _______________________________ )
                                     )
17
18        It is hereby stipulated between the parties, Todd Pickles, Assistant
19   United States Attorney, attorney for plaintiff and Matthew C. Bockmon,
20   Assistant Federal Defender, attorney for defendant COLIN MCELWEE, that
21   the Conditions of Release, Special Condition #13 be added and amended as
22   follows: #13 You shall participate in a cognitive behavior program and
23   comply with all the rules and regulations of that program. You shall
24   remain in the program until released by the Pretrial Services officer.
25   U.S. Pretrial Services Officers, counsel for the government, and counsel
26   for defendant, COLIN MCELWEE, agree with the condition as set forth
27   therein.
28
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1         The U.S. Pretrial Services Office and the U.S. Attorney’s Office
2    have no objection to the proposed modification.
3    IT IS SO STIPULATED
4    Dated:      April 13, 2012                Respectfully submitted,
5                                              DANIEL J. BRODERICK
                                               Federal Defender
6
                                               /s/ Matthew C. Bockmon
7
                                               MATTHEW C. BOCKMON
8                                              Assistant Federal Defender
                                               Attorney for Defendant
9                                              COLIN MCELWEE
10
     Dated:      April 13, 2012                BENJAMIN B. WAGNER
11                                             United States Attorney
12
                                               /s/ Todd Pickles
13                                             ________________________________
                                               Todd Pickles
14                                             Assistant U.S. Attorney
                                               Attorney for Plaintiff
15
16                                          O R D E R
17
          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
18
     ordered that as to defendant COLIN MCELWEE’S Conditions of Release,
19
     Special Condition #13 be added and amended as follows: #13 You shall
20
     participate in a cognitive behavior program and comply with all the rules
21
     and regulations of that program. You shall remain in the program until
22
     released by the Pretrial Services officer
23
     IT IS SO ORDERED.
24
25   Dated: April 18, 2012
                                          /s/ Gregory G. Hollows
26                                       UNITED STATES MAGISTRATE JUDGE
27
28
